Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 1 of 60

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Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 2 of 60

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f— l-L'*
Date: 3/27/17

DeAndra’ Cobb

6309 Tierra Cove Street
Las Vegas, NV 89081
661-974-1137

DOB: 7°" ©
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 3 of 60

Mb. trettiite

Robert Brannon
2412 Read Street
Columbia, SC 29204
803-361-4013
DOB:7° **‘!

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 4 of 60

Date: 3/27/17

Tim McTyer

829 E. 118th Place

Los Angeles, CA 90059
213-864-7609

DOB: ©* *'#""97
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 5 of 60

Date: 3/27/17

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C

Eric Starr

2911 St. Mary's Road
Hillsborough, NC 27278
919-903-1433

DOB; 7°
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 6 of 60

Date: 3/27/17

Randy Phillips

642 SW 7th Street
Belle Glade, FL 33430
863-599-9828

DOB: 7*""*""™
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 7 of 60

Date: 3/27/17
Eric Green
1015 Ponce De Leon Avenue
Clewiston, FL 33440
954-648-1023
DOB; 7ertee

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 8 of 60

Date: 3/27/17 =
Reggie Freeman
285 Berenger Walk
Royal Palm Beach, FL 33414
561-301-7229
DOB: °7"*

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 9 of 60

Date: 3/27/17

Sn SL

Siupeli Malamala

PO Box 14621

North Palm Beach, FL 33468
561-543-8336

DOB: '"'7 "*"

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 10 of 60

Date: 3/27/17

(_| albert JoH LOS

Holbert Johnson

2241 Harbor Cliff Drive
Las Vegas, NV 89128
310-350-3934

DOB 38s

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 11 of 60

Date: 3/27/17

AA

Scott Kirby

507 Springvale Road
Castlerock, CO 80104
913-219-6629

DOB: 2" 0"
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 12 of 60

Date: 3/27/17

Cue. 07, Staley

Eric Streater

7715 Holly Hill Road
Charlotte, NC 28277
704-531-0860

DOB; 77)" Ent
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 13 of 60

Navdiae Stowe

Woodrow Lowe

230 Bridgeford Blvd
Ridgeland, MS 39157
334-3 18-2007

DOB: “°°

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 14 of 60

YY
CY
Date: 3/27/17

Javarris James

8625 Saddlebrook Circle
Naples, FL Apt. 1207
239-839-3821

DOB: " “°F >
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17

Date: 3/27/17

Page 15 of 60

DaJuan Morgan
4241 SW 131 Street
Hollywood, FL 33027
305-335-0624

DOB: '*""""
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 16 of 60

LGM

Dedrick Epps
5381 W. Hillsboro Blvd
Coconut Creek, FL 33073
804-519-9612

DOB: “''" '174°'¢

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 17 of 60

Date: 3/27/17

Steven Harris

20253 River Ridge Terrace #201
Broadlands, VA 20148
703-628-2788

DOB: "! °"
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 18 of 60

Date: 3/27/17

Davlin Mullen
824 Miller Avenue
Clairton, PA 15025
412-519-9272
DOB: 777"

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 19 of 60

Date: 3/27/17

Michael Merritt
12106 Napiers Circle
Orlando, FL 32826
321-201-3756

DOB: *" ">>"
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 20 of 60

SJ

Date: 3/27/17

Cornell Webster

10115 S. Urbana Avenue
Tulsa, OK 74137
918-340-1178

DOB: '*'7 °7*8?
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 21 of 60

Date: 3/27/17

Ron Edwards

11836 Crooked Stick Place
Pineville, NC 28134
202-329-987 |

DOB: 77°"
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 22 of 60

Date: 3/27/17

Claude Wroten

635 Ludlum Avenue
Batrop, LA 71220
318-261-9808

DOB: 7‘ **

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 23 of 60

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Johnnie Lynn

193 Worthington Woods Drive
Mooresville, NC 28117
201-638-7512

DOB: °* "7"

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 24 of 60

sks

Date: 3/27/17

David Sims
Decatur, GA
404-438-3794
DOB
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 25 of 60

Date: 3/27/17

Gary Mullen

3308 Popular Ridge Drive
Rex, GA 30273
470-585-7495

DOB: 71" >"
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 26 of 60

Date: 3/27/17

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aH tT

Kim Anderson

6709 La Tijera Blvd Suite 222
Los Angeles, CA 90046
310-404-5440

DOB: 7°" °°
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 27 of 60

Date: 3/27/17

Brandon Banks-McNair
1007 Buckhom Road
Gamer, NC 27529
919-803-9003

DOB:° 7"'".
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 28 of 60

t

Date: 3/27/17

Shawn Banks

$220 Judy Drive
Midlothian, Texas 76065
214-212-3794

DOB: *7* 1°
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 29 of 60

Date: 3/27/17

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Fred Bennett
1795 Lena Expy
Expy, SC 29918
843-726-1921
DOB: 77" """"?
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 30 of 60

A

Luther Broughton
1082 Garrow Road
Indian Land, SC 29707
704-281-7818

DOB: *>* '*

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 31 of 60

Date: 3/27/17

Marquice Cole

2255 W. Germann Road
Chandler, AZ 85286
708-224-5404

DOB: ''" 77°
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 32 of 60

Date: 3/27/17

f
Jrry(y

797 Chapman Street
Jonesboro, GA 30238
386-279-908 1

DOB; “""
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 33 of 60

Date: 3/27/17

Joshua Bell

1325 Thunderbrook Drive
Desoto, TX 75115
972-965-1922

DOB: ' 7"
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 34 of 60

Emanuel Cook

1206 W. 24th Street
Riviera Beach, FL 33404
443-400-913]

DOB: '""""' °°

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 35 of 60

Loerie Tan

Corvey Irvin

14302 Farrington Ridge Circle
Lithonia, GA 30038
706-524-4600

DOB: "7" "8"

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 36 of 60

Date: 3/27/17

Anthony Allen

3501 Jackson Street
Hollywood, TX 30021
404-279-0593

DOB: "4" "
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 37 of 60

JA AE

Michael Coe

581 Copley Lane
Orlando, FL 32806
407-307-6626
DOB: *es.P.t

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 38 of 60

OK Me

Date: 3/27/17 ——
Derico Murray

662 Forsythe Avenue
Girard, OH 44420
330-979-1683

DOB: ~*~"

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Date: 3/27/17

Page 39 of 60

Ed Philion

23 Boul Bourbonne Blvd
Quebec, Canada
514-567-4157

DOB: 7 * "7
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 40 of 60

Stefan Logan

3449 NW 122nd Avenue
Sunrise, FL 33323
305-332-7709

DOB: "7"

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 41 of 60

Date: 3/27/17

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Britt Davis

1909 Vizcaino Court
Escondido, CA 92026
619-261-9620

DOB: *"* ' -4
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 42 of 60

Date: 3/27/17

fi Aa
i “>

Kynan Forney

2046 Skybrooke Lane
Hoschton, GA 30548
770-286-3601

DOB: 94 ‘167°
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 43 of 60

~ Deveron Harper
Concord, NC

704-28 | -0604
DOB

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 44 of 60

Date: 3/27/17

Robert Hicks

6209 Huntington Ridge Road
Mableton, GA 30126
404-456-0353

DOB: '* "°°"
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 45 of 60

Date: 3/27/17

Dale Jones

152 Cobblestone Bridge Lane
Banner Elk, NC 28604
828-773-8300

DOB; [25s
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 46 of 60

Date: 3/27/17

Frank Leatherwood
94 Coker Road
Hayesville, NC 28904
828-361-4956

DOB: ©" "7
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 47 of 60

Date: 3/27/17

PA pre

Durwood Roquemore

400 S. Military Highway #2301
Virginia Beach, VA 23464
407-716-8772

DOB: °°" "°"*
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 48 of 60

Derek Walker

177 Holmes Place
Montgomery, IL 60538
630-854-7665

DOB, Wr Bes

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 49 of 60

Date: 3/27/17

AS

Markus White

4387 Walnut Street

West Palm Beach, FL 33406
561-420-3309

DOB: ** "7"
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 50 of 60

Date: 3/27/17

Jenorris James

8990 Pennington Place
Montgomery, AL 36117
954-649-7830

DOB: ie
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 51 of 60

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Drew Coleman

17515 Bermondsey Court
Houston, TX 77377
817-205-8048

DOB: ~ °""*

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 52 of 60

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Titus Dixon

7507 Bliss Way
Kissimmee, FL 34747
813-917-5628

DOB: =

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 53 of 60

An

Date: 3/27/17

Greg Evans

6004 Lost Valley Drive
Colony, TX 75056
214-235-2660

DOB: "7~""°""'
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 54 of 60

Date: 3/27/17

Qeoe

Jim Lavin

3318 N. Kenmore Avenue
Chicago, IL 60657
214-707-5975

DOB: *" "5

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 55 of 60

Date: 3/27/17

Davidia Mims

280 CR 3104 Mason
Daingerfield, TX
903-916-2877

DOB; T=
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 56 of 60

Tey 0 thn

Tony Nathan

15110 Dunbarton Place
Hialeah, FL 33016
917-687-6607

DOB: '~

Date: 3/27/17

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Date: 3/27/17

Page 57 of 60

Evan Oglesby

48 Wedgefield Drive
Toccoa, GA 30577
256-648-1766

DOB: “7 ">"
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 58 of 60

w

Brandon Sanders
Arizona
520-406-9702
DOB

Date: 3/27/17

Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 59 of 60

Date: 3/27/17 _
Maurice Smith

4402 River Forestin
Greensboro, NC 27409
336-209-9306

DOB. © °°"
Case 2:12-md-02323-AB Document 7404-1 Filed 03/29/17 Page 60 of 60

Reggie Smith

407 Elysian Fields Street
Charlotte, NC 28262
704-712-0841

DOB; 7" °°"

Date: 3/27/17

